Case 19-40972-JMM     Doc 56     Filed 11/22/21 Entered 11/22/21 14:03:38   Desc Main
                                Document      Page 1 of 5




                      UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF IDAHO

 In re:

          BRIAN ANDREASEN and KATHRYN A.              Case No. 19-40324-JMM (Ch. 7)
          ANDREASEN,


          PETER MICHAEL LESBO,                        Case No. 19-40683-JMM (Ch. 7)


          STEPHEN PICHETTE and DANIELLE               Case No. 19-40730-JMM (Ch. 7)
          PICHETTE,


          LYONE B. OVERLIN and REBECCA J.             Case No. 19-40972-JMM (Ch. 7)
          OVERLIN,


          JAMES EDWARD DESCOTEAU,                     Case No. 20-00843-JMM (Ch. 7)


          HEATHER MANNING,                            Case No. 20-01004-JMM (Ch. 7)


          DOMINIQUE WILSON,                           Case No. 20-01047-JMM (Ch. 7)


          LESLIE A. SETTLES,                          Case No. 20-01063-JMM (Ch. 7)


          APRIL TREJO ESPINO,                         Case No. 20-40528-JMM (Ch. 7)


          DARREL DICKSON, JR.,                        Case No. 20-40754-JMM (Ch. 7)


          KARA D. ANDRUS,                             Case No. 20-40819-JMM (Ch. 7)


          TARA DAWN MACTAGGART,                       Case No. 20-40902-JMM (Ch. 7)


          BRANDY G. EMDIN,                            Case No. 20-40903-JMM (Ch. 7)
Case 19-40972-JMM   Doc 56    Filed 11/22/21 Entered 11/22/21 14:03:38   Desc Main
                             Document      Page 2 of 5




       CHRISTY L. PHIPPS,                          Case No. 20-40915-JMM (Ch. 7)


       ALICIA D. BARENDREGT and COLIN              Case No. 20-40931-JMM (Ch. 7)
       BARENDREGT,


       TYRON L. BATES and MEAGAN BENNETT,          Case No. 20-40961-JMM (Ch. 7)


       HANNAH JOY CAIN,                            Case No. 21-00248-JMM (Ch. 7)


       LAUREN DAWN RIVERA,                         Case No. 21-40002-JMM (Ch. 7)


       CALLIE RAMIREZ,                             Case No. 21-40012-JMM (Ch. 7)


       RUTH M. CRISP,                              Case No. 21-40032-JMM (Ch. 7)


       LISA M. PHIPPS,                             Case No. 21-40100-JMM (Ch. 7)


       RHONDA M. WRIGHT,                           Case No. 21-40160-JMM (Ch. 7)


       KENDRICK N. PEREIRA,                        Case No. 21-40162-JMM (Ch. 7)


       HUNTER B. SOLIDAY,                          Case No. 21-40286-JMM (Ch. 7)


       KRISTI M. RANDALL,                          Case No. 21-40374-JMM (Ch. 7)


       SAMANTHA M. WHITWORTH,                      Case No. 21-40460-JMM (Ch. 7)


       JOSHUA T. CLAUNCH and ANIKA D.              Case No. 21-40466-JMM (Ch. 7)
       CLAUNCH,
Case 19-40972-JMM       Doc 56     Filed 11/22/21 Entered 11/22/21 14:03:38          Desc Main
                                  Document      Page 3 of 5



        ASHLEE M. CROASMUN,                                  Case No. 21-40467-JMM (Ch. 7)


        CAMERON WARD and MELISSA HEATH,                      Case No. 21-40476-JMM (Ch. 7)


        BRITNI HOWE and CASSIE HOWE,                         Case No. 21-40482-JMM (Ch. 7)


        RAFA ELLIOTT and CYNTHIA ELLIOTT,                    Case No. 21-40483-JMM (Ch. 7)


        CHAD N. MOXLEY and TONI L. MOXLEY,                   Case No. 21-40497-JMM (Ch. 7)


        LOUIS DAVIS ELLWOOD and JESSICA                      Case No. 21-40517-JMM (Ch. 7)
        ELLWOOD,


        KELSIE SHURTLIFF,                                    Case No. 21-40532-JMM (Ch. 7)


        MARISSA J. JOHNSON,                                  Case No. 21-40533-JMM (Ch. 7)


        CHRISTOPHER D. SMITH and MISTY SMITH,                Case No. 21-40540-JMM (Ch. 7)


        ERIC R. WHITTEKIEND and SHARLA K.                    Case No. 21-40557-JMM (Ch. 7)
        WHITTEKIEND,


        NATHAN S. TRACY,                                     Case No. 21-40563-JMM (Ch. 7)

                                     Debtors.


                      ORDER REMOVING DEBTORS’ ATTORNEY

       On November 18, 2021, the Acting United States Trustee’s Motion for Monetary and

Injunctive Remedies against attorney Kameron Youngblood came on for hearing before the

Court in each of the above-captioned cases seeking, among other remedies, a severing of the

attorney-client relationship between Mr. Youngblood and his clients. Mr. Youngblood is the
Case 19-40972-JMM            Doc 56      Filed 11/22/21 Entered 11/22/21 14:03:38                    Desc Main
                                        Document      Page 4 of 5



attorney of record for the debtors in each of the above cases.1 During the November 18, 2021,

hearing, Mr. Youngblood indicated he is no longer capable of providing adequate representation

to his clients in any of the captioned cases and made what amounted to an oral motion to

withdraw as counsel in each case. Based on Mr. Youngblood’s representations and request, and

for other good cause, the Court finds removal of Mr. Youngblood as attorney for the debtors in

each of the above cases is necessary and appropriate. Therefore:

        IT IS HEREBY ORDERED:

        1.       Attorney Kameron Youngblood is hereby removed as counsel for each debtor in

the above-captioned cases and the attorney-client relationship between Mr. Youngblood and each

debtor is terminated.

        2.       Each of the debtors in the above-identified cases shall file, or cause new counsel

to file, a written notice with the Court within 21-days of the date of this Order stating either:

                 a. The debtor will appear in person and represent him- or herself (pro se) in all

                     matters relating to the debtor’s case; or

                 b. Another attorney has been appointed by the debtor to appear on his or her

                     behalf. Any incoming attorney shall forthwith give notice of the appearance

                     as attorney of record to all parties in interest in that bankruptcy case and shall

                     file a proof of service with the Court.

        3.       No further proceedings that would affect the debtors’ rights in any of the above-

captioned cases shall be held until 21-days from the date of this Order.

        4.       Failure of a debtor to appear, either in-person or through newly appointed


1
 While the United States Trustee’s Motion was filed in additional open cases that Mr. Youngblood had commenced
for other debtor clients, substitutions of counsel have been entered in some such cases, designating new counsel.
The above-captioned cases are those assigned to the undersigned Judge and where there has been no formal notice
of substituted debtors’ counsel.
Case 19-40972-JMM             Doc 56      Filed 11/22/21 Entered 11/22/21 14:03:38                      Desc Main
                                         Document      Page 5 of 5



counsel, in any above-captioned case during the 21-day period from the date of this Order shall

be sufficient grounds for dismissal of a debtor’s case without further notice if such appears

appropriate.

         This Order terminates the attorney-client relationship between Mr. Youngblood and each

of the debtors in the above-identified cases. It does not address any fee agreement between the

debtors and Mr. Youngblood. The Court will take the other remedies requested in the United

States Trustee’s Motion, including the voiding of fee agreements, the return of fees, and the

imposition of any other remedy or civil penalty, under advisement after December 17, 2021,2 and

will subsequently issue a decision on those matters.


                                             DATED: November 22, 2021



                                             ________________________
                                             JOSEPH M. MEIER
                                             CHIEF U. S. BANKRUPTCY JUDGE


The Court modified the proposed order by inserting the words in italics to subparagraph 2.b. in
the proposed order submitted by counsel.




Submitted by Jason R. Naess
Attorney for the Acting United States Trustee




2 The Court has provided Mr. Youngblood additional time, until December 17, 2021, to provide any written
response or argument as to the United States Trustee’s Motion. In addition, the Court may reopen the evidentiary
record to receive limited additional evidence, as indicated at the November 18, 2021, hearing, prior to entering a
decision and/or final orders in these cases.
